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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

10X GENOMICS, INC. and PRESIDENT                )
AND FELLOWS OF HARVARD                          )
COLLEGE,                                        )
                                                )
                        10x and Harvard,        )
                                                )    C.A. No. 22-261 (MFK)
            v.                                  )
                                                )    JURY TRIAL DEMANDED
NANOSTRING TECHNOLOGIES, INC.,                  )
                                                )
                        Defendant.


 NANOSTRING TECHNOLOGIES, INC. ANSWER, AFFIRMATIVE DEFENSES, AND
  COUNTERCLAIMS TO 10X AND HARVARD’ SECOND AMENDED COMPLAINT

       Defendant NanoString Technologies, Inc. (“NanoString”), answers and responds to each

of the allegations in the Second Amended Complaint (“SAC”) of 10x and Harvard 10x Genomics,

Inc. (“10x”) and President and Fellows of Harvard College (“Harvard”) (collectively “10x and

Harvard”). Unless expressly admitted, NanoString denies each and every allegation in 10x and

Harvard’ SAC. To the extent the allegations in the SAC purport to characterize the nature or

contents of the Exhibits to the SAC, NanoString lacks sufficient knowledge or information to form

a belief as to the truth of those allegations and on that basis denies them. Additionally, to the

extent that the headings or any other non-numbered statements in the SAC contain any allegations,

NanoString denies each and every such allegation.

                                      NATURE OF THE ACTION

       1.        NanoString admits that the SAC purports to state a claim for patent infringement

of United States Patent Nos. 10,227,639 (“the 639 Patent), 11,021,737 (“the 737 Patent”),

11,293,051 (“the 051 Patent”), 11,293,052 (“the 052 Patent”), 11,293,054 (“the 054 Patent”), and

11,542,554 (the “554 Patent”) (collectively, the “Asserted Patents”) arising under the patent laws




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of the United States, Title 35, United States Code, including 35 U.S.C. § 271. Except as so

admitted, NanoString denies any remaining allegations in paragraph 1.

                                                 THE PARTIES

       2.      Admitted.

       3.      Denied.

       4.      NanoString lacks sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in paragraph 4 and on that basis denies them.

       5.      NanoString admits that it is a Delaware Corporation with its principal place of

business is located in Seattle, WA. Except as so admitted, NanoString denies any remaining

allegations in paragraph 5.

       6.      Denied.

                                     JURISDICTION AND VENUE

       7.      NanoString incorporates by reference and restates its responses to paragraphs 1-6

of the SAC as though fully set forth herein.

       8.      NanoString admits that the SAC purports to state a claim for patent infringement

arising under the patent laws of the United States, 35 U.S.C. §§ 1, et seq., including in particular

35 U.S.C. §§ 271. NanoString further admits that this Court has subject matter jurisdiction over

causes of action for alleged patent infringement pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       9.      NanoString admits that it is an entity organized under the laws of Delaware and that

venue is proper in this District. Except as so admitted, NanoString denies any remaining

allegations of paragraph 9.

       A.      Response to Allegations Regarding 10x’s Products

       10.     NanoString lacks sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in paragraph 10 and on that basis denies them.


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       11.     NanoString lacks sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in paragraph 11 and on that basis denies them.

       12.     NanoString lacks sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in paragraph 12 and on that basis denies them.

       13.     NanoString lacks sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in paragraph 13 and on that basis denies them.

       14.     NanoString lacks sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in paragraph 14 and on that basis denies them.

       B.      Response To Allegations Regarding 10x and In Situ Technologies

       15.     Paragraph 15 of the SAC includes allegations that are vague, ambiguous, and

incomplete, and on that basis NanoString denies the allegations of paragraph 15.

       16.     NanoString lacks sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in paragraph 16 and on that basis denies them.

       17.     NanoString lacks sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in paragraph 17 and on that basis denies them.

       C.      Response to Allegations Regarding NanoString’s Products

       18.     NanoString admits that it announced the launch of its Technology Access Program

for the Spatial Molecular Imager Platform in March 2021. NanoString further admits that it issued

a press release referencing the new CosMx Spatial Molecular Imager in November 2021.

NanoString admits that Paragraph 18 accurately quotes a portion of NanoString’s website.

Paragraph 18 of the SAC further includes allegations that purport to characterize technical aspects

of NanoString’s products in a manner that is vague, ambiguous, and incomplete, and on that basis

NanoString denies the remaining allegations of paragraph 18. NanoString further denies that it




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practices the Asserted Patents by using the CoxMx SMI workflow on behalf of its own scientists

and researchers and for its CosMx SMI TAP customers.

       19.      NanoString admits that it advertises, offers for sale, and now sells and ships the

CosMx SMI platform to and for customers in the United States. Paragraph 19 of the SAC further

includes allegations that are vague, ambiguous, and incomplete, and on that basis NanoString

denies the remaining allegations of paragraph 19.

       20.      NanoString admits that it makes, uses, sells, and supplies products, components,

and services in connection with NanoString’s CosMx Spatial Molecular Imaging platform.

Paragraph 20 of the SAC otherwise includes allegations that purport to characterize NanoString’s

products in a manner that is vague, ambiguous, and incomplete, and on that basis NanoString

denies the remaining allegations of paragraph 20.

       D.       Response to Allegations Regarding the Patents In Suit

       21.      Denied.

       22.      NanoString admits that, on its face, the 639 Patent states that it was issued on March

12, 2019 and that it lists the named inventors as Daniel Levner, Jehyuk Lee, George M. Church,

and Michael Super. Except as so admitted, NanoString denies any remaining allegations of

paragraph 22.

       23.      NanoString lacks sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in paragraph 23 and on that basis denies them.

       24.      NanoString admits that, on its face, the 737 Patent states that it was issued on June

1, 2021 and that it lists the named inventors as Daniel Levner, Jehyuk Lee, George M. Church,

and Michael Super. Except as so admitted, NanoString denies any remaining allegations of

paragraph 24.




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       25.      NanoString lacks sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in paragraph 25 and on that basis denies them.

       26.      NanoString admits that, on its face, the 051 Patent states that it was issued on April

5, 2022, and that it lists the named inventors as Daniel Levner, Jehyuk Lee, George M. Church,

and Michael Super. Except as so admitted, NanoString denies any remaining allegations of

paragraph 26.

       27.      NanoString lacks sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in paragraph 27 and on that basis denies them.

       28.      NanoString admits that, on its face, the 052 Patent states that it was issued on April

5, 2022, and that it lists the named inventors as Daniel Levner, Jehyuk Lee, George M. Church,

and Michael Super. Except as so admitted, NanoString denies any remaining allegations of

paragraph 28.

       29.      NanoString lacks sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in paragraph 29 and on that basis denies them.

       30.      NanoString admits that, on its face, the 054 Patent states that it was issued on April

5, 2022, and that it lists the named inventors as Daniel Levner, Jehyuk Lee, George M. Church,

and Michael Super. Except as so admitted, NanoString denies any remaining allegations of

paragraph 30.

       31.      NanoString lacks sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in paragraph 31 and on that basis denies them.

       32.      NanoString admits that, on its face, the 554 Patent states that it was issued on

January 3, 2023, and that it lists the named inventors as Evan R. Daugharthy, Richard C. Terry,




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Je-Hyuk Lee, George M. Church, and Benjamin W. Pruitt. Except as so admitted, NanoString

denies any remaining allegations of paragraph 32.

       33.     NanoString lacks sufficient knowledge or information to form a belief as to the

truth of the allegations set forth in paragraph 33 and on that basis denies them.

       34.     NanoString admits that it has been aware of the 639 and 737 Patents since February

28, 2022, when 10x and Harvard filed their Complaint. NanoString admits that it has been aware

of the 051, 052, and 054 Patents since May 12, 2022, when 10x and Harvard filed their First

Amended Complaint. NanoString admits that it has been aware of the 554 Patent since February

2, 2023, when 10x stated its intent to add a claim of infringement of the 554 Patent to the 22-cv-

261 litigation. Paragraph 34 otherwise states legal conclusions to which no response is required.

To the extent that a response is required, NanoString denies the remaining allegations in this

paragraph.

       35.     NanoString admits that it presented studies regarding the CosMx Spatial Molecular

Imager at AGBT in July 2022. NanoString further admits it announced the first commercial

shipment of the CosMx Spatial Molecular Imager in December 2022. Except as so admitted,

NanoString denies any remaining allegations of paragraph 35.

                                                COUNT I

       36.     NanoString incorporates and restates by reference its responses to paragraphs 1-35

of the SAC as though fully set forth herein.

       37.     Denied.

       38.     Denied.

       39.     Denied.

       40.     Denied.




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       41.     Denied.

       42.     Denied.

       43.     Denied.

                                               COUNT II

       44.     NanoString incorporates and restates by reference its responses to paragraphs 1-43

of the SAC as though fully set forth herein.

       45.     Denied.

       46.     Denied.

       47.     Denied.

       48.     Denied.

       49.     Denied.

       50.     Denied.

       51.     Denied.

                                               COUNT III

       52.     NanoString incorporates and restates by reference its responses to paragraphs 1-51

of the SAC as though fully set forth herein.

       53.     Denied.

       54.     Denied.

       55.     Denied.

       56.     Denied.

       57.     Denied.

       58.     Denied.

       59.     Denied.




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                                               COUNT IV

       60.     NanoString incorporates and restates by reference its responses to paragraphs 1-59

of the SAC as though fully set forth herein.

       61.     Denied.

       62.     Denied.

       63.     Denied.

       64.     Denied.

       65.     Denied.

       66.     Denied.

       67.     Denied.

                                               COUNT V

       68.     NanoString incorporates and restates by reference its responses to paragraphs 1-67

of the SAC as though fully set forth herein.

       69.     Denied.

       70.     Denied.

       71.     Denied.

       72.     Denied.

       73.     Denied.

       74.     Denied.

       75.     Denied.

                                               COUNT VI

       76.     NanoString incorporates and restates by reference its responses to paragraphs 1-75

of the SAC as though fully set forth herein.




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       77.       Paragraph 77 of the SAC further includes allegations that purport to characterize

NanoString’s products in a manner that is vague, ambiguous, and incomplete, and on that basis

NanoString denies the remaining allegations of paragraph 77.

       78.     Denied.

       79.     Denied.

       80.     Denied.

       81.     Denied.

       82.     Denied.

       83.     Denied.

       84.     Denied.

       85.     Denied.

       86.     Denied.

                                         PRAYER FOR RELIEF

       NanoString denies that 10x and Harvard are entitled to any relief whatsoever, including the

relief stated in paragraphs A through G, from either NanoString or the Court. 10x and Harvard’

prayer for relief should be denied in its entirety.

                                       AFFIRMATIVE DEFENSES

       NanoString hereby sets forth defenses to the SAC in order to place 10x and Harvard on

notice regarding applicable defenses. By listing any matter as a defense herein, NanoString does

not assume the burden of proving any matter upon which 10x and Harvard, or any other party,

bears the burden of proof under applicable law.




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                          FIRST DEFENSE – NON-INFRINGEMENT

         NanoString has not infringed, and is not infringing directly, indirectly, contributorily, by

inducement, or in any other manner any valid and enforceable claim of the Asserted Patents, either

literally or under the doctrine of equivalents.

                               SECOND DEFENSE – INVALIDITY

         The asserted claims of the Asserted Patents are invalid for failing to comply with one or

more of the requirements for patentability under, including, but not limited to 35 U.S.C. §§ 101,

102, 103, 112 et seq., and the rules, regulations, and laws pertaining to those provisions, including

the applicable provisions of Title 37 of the Code of Federal Regulations.

                                THIRD DEFENSE – 35 U.S.C. § 287

         10x and Harvard’ patent infringement claims and Prayer for Relief are limited by 35 U.S.C.

§ 287.

                   FOURTH DEFENSE – ADEQUATE REMEDY AT LAW

         10x and Harvard have an adequate remedy at law and the alleged injury to 10x and Harvard

is not immediate or irreparable. Accordingly, 10x and Harvard are not entitled to injunctive relief

even if it were able to establish liability.

                        FIFTH DEFENSE – NO EXCEPTIONAL CASE

         NanoString has not engaged in any conduct that would make this an exceptional case or

that would entitle 10x and Harvard to an award of attorneys’ fees.

                     SIXTH DEFENSE – FAILURE TO STATE A CLAIM

         10x and Harvard’ SAC fails to state a claim upon which relief may be granted.




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            NANOSTRING’S COUNTERCLAIMS AGAINST 10X AND HARVARD

In support of its counterclaims against 10x and Harvard, NanoString alleges as follows:

                                      NATURE OF THE ACTION

       1.      In response to 10x and Harvard’ allegations in the SAC, NanoString seeks a

declaratory judgment that it has not infringed the Asserted Patents, and that the Asserted Patents

are invalid.

                                            THE PARTIES

       2.      10x is a Delaware corporation with its principal place of business at 6230

Stoneridge Mall Road, Pleasanton, CA 94588.

       3.      Harvard is a Massachusetts educational institution according to its allegations in

the SAC.

       4.      NanoString is a Delaware corporation with its principal place of business at 530

Fairview Ave. N, Seattle, WA 98109.

                                     JURISDICTION AND VENUE

       5.      The Court has subject matter jurisdiction over NanoString’s declaratory judgment

counterclaims pursuant to 28 U.S.C. §§ 2201 & 2202.

       6.      The Court has personal jurisdiction over 10x and Harvard because 10x is a

Delaware corporation and both 10x and Harvard have consented to jurisdiction in this District by

filing their SAC in this action.

       7.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1400(b) because

10x is a Delaware corporation and both 10x and Harvard have consented to this venue by filing

their original Complaint in this action.




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                                             FIRST COUNT

               (Declaration of Non-Infringement of United States Patent No. 10,227,639)

       8.      NanoString incorporates by references and restates the preceding Paragraphs 1-7 of

its Counterclaims as though fully set forth herein.

       9.      10x and Harvard have brought an action asserting the 639 Patent against

NanoString.

       10.     Harvard has alleged that it is the legal owner by assignment of the 639 Patent.

       11.     10x has alleged that it is the exclusive licensee of the 639 Patent.

       12.     10x and Harvard have alleged and continue to allege that NanoString has infringed

and continues to infringe one or more claims of the 639 Patent.

       13.     An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

arisen and exists between 10x and Harvard and NanoString concerning whether NanoString has

infringed and is infringing any valid and enforceable claim of the 639 Patent.

       14.     NanoString’s products are not infringing directly or in any other manner any valid

and enforceable claim of the 639 Patent.

       15.     For example, as described therein, when properly construed, the 639 Patent claims

require analytes to be immobilized in the sample for analyte identification.          In contrast,

NanoString’s CosMx SMI does not immobilize analytes for analyte identification.

       16.     Also, as described therein, when properly construed, the 639 Patent claims require

pre-determined subsequences to form an identifier of analyte. In contrast, to the extent they are

used in CosMx SMI, pre-determined subsequences are not identifiers, but intermediate sequences

for hybridization of probes.




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          17.   Furthermore, as described therein, when properly construed, the 639 Patent claims

require a first decoder probe to be removed before the hybridization of the second decoder probe.

In contrast, CosMx SMI do not remove any such decoder probes during hybridization.

          18.   Moreover, as described therein, when properly construed, the 639 Patent claims

require identification of a probe for analyte identification. In contrast, NanoString’s CosMx SMI

does not identify a probe to identify an analyte.

          19.   Besides, as described therein, when properly construed, the 639 Patent claims

require the use of two detectable labels for analyte identification. To the extent any accused

products do not use two detectable labels for analyte identification, they do not infringe the 639

Patent.

          20.   By virtue of the foregoing, NanoString desires a judicial determination of its rights

and duties with respect to any alleged infringement of the 639 Patent.

          21.   A judicial declaration is necessary and appropriate at this time so that the parties

may proceed in accordance with their respective rights and duties determined by the Court.

                                            SECOND COUNT

                (Declaration of Non-Infringement of United States Patent No. 11,021,737)

          22.   NanoString incorporates by references and restates the preceding Paragraphs 1-21

of its Counterclaims as though fully set forth herein.

          23.   10x and Harvard have brought an action asserting the 737 Patent against

NanoString.

          24.   Harvard has alleged that it is the legal owner by assignment of the 737 Patent.

          25.   10x has alleged that it is the exclusive licensee of the 737 Patent.

          26.   10x and Harvard have alleged and continue to allege that NanoString has infringed

and continues to infringe one or more claims of the 737 Patent.


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       27.     An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

arisen and exists between 10x and Harvard and NanoString concerning whether NanoString has

infringed and is infringing any valid and enforceable claim of the 737 Patent.

       28.     NanoString’s products are not infringing directly or in any other manner any valid

and enforceable claim of the 737 Patent.

       29.     For example, as described therein, when properly construed, the 737 Patent claims

require the analytes to be in the cell or tissue sample during analyte identification. In contrast,

NanoString’s CosMx SMI does not identify analytes in the cell or tissue sample.

       30.     Furthermore, as described therein, when properly construed, the 737 Patent claims

require signal signatures to be associated with one or more pre-determined subsequences. In

contrast, to the extent they are used in CosMx SMI, signal signatures are not associated with pre-

determined subsequences, but with the hybridized decoder probes.

       31.     Moreover, as described therein, when properly construed, the 737 Patent claims

require first decoder probe to be removed before the hybridization of the second decoder probe.

In contrast, CosMx SMI does not remove the decoder probes during serial hybridization.

       32.     Besides, as described therein, when properly construed, the 737 Patent require a

temporal order of signal signatures for analyte identification. In contrast, CosMx SMI does not use

a temporal order of signal signatures for analyte identification.

       33.     By virtue of the foregoing, NanoString desires a judicial determination of its rights

and duties with respect to any alleged infringement of the 737 Patent.

       34.     A judicial declaration is necessary and appropriate at this time so that the parties

may proceed in accordance with their respective rights and duties determined by the Court.




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                                             THIRD COUNT

               (Declaration of Non-Infringement of United States Patent No. 11,293,051)

       35.     NanoString incorporates by references and restates the preceding Paragraphs 1-34

of its Counterclaims as though fully set forth herein.

       36.     10x and Harvard have brought an action asserting the 051 Patent against

NanoString.

       37.     Harvard has alleged that it is the legal owner by assignment of the 051 Patent.

       38.     10x has alleged that it is the exclusive licensee of the 051 Patent.

       39.     10x and Harvard have alleged and continue to allege that NanoString has infringed

and continues to infringe one or more claims of the 051 Patent.

       40.     An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

arisen and exists between 10x and Harvard and NanoString concerning whether NanoString has

infringed and is infringing any valid and enforceable claim of the 051 Patent.

       41.     NanoString’s products are not infringing directly or in any other manner any valid

and enforceable claim of the 051 Patent.

       42.     For example, as described therein, when properly construed, the 051 Patent claims

require the analytes to be in the cell or tissue sample for analyte identification. In contrast,

NanoString’s CosMx SMI does not identify analytes in the cell or tissue sample.

       43.     Also, as described therein, when properly construed, the 051 Patent claims require

a temporal order of signal signatures to correspond to a location in a cell or tissue sample. In

contrast, NanoString’s CosMx SMI does not use a temporal order of signal signatures

corresponding to a location.

       44.     Furthermore, as described therein, when properly construed, the 051 Patent claims

require first plurality of signal signatures to be removed from the cell or tissue sample before the


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second readout cycle. In contrast, CosMx SMI does not remove a first plurality of signal signatures

from the cell or tissue sample, but from the bound probes.

       45.     Moreover, as described therein, when properly construed, the 051 Patent claims

require the first subset of detection reagents associated with the first set of decoding reagents and

the second set of detection reagents associated with the second set of decoding reagents to overlap.

To the extent any of the accused products do not let the first subset of detection reagents and the

second subset of detection reagents to overlap, they do not infringe the 051 Patent.

       46.     By virtue of the foregoing, NanoString desires a judicial determination of its rights

and duties with respect to any alleged infringement of the 051 Patent.

       47.     A judicial declaration is necessary and appropriate at this time so that the parties

may proceed in accordance with their respective rights and duties determined by the Court.

                                           FOURTH COUNT

               (Declaration of Non-Infringement of United States Patent No. 11,293,052)

       48.     NanoString incorporates by references and restates the preceding Paragraphs 1-47

of its Counterclaims as though fully set forth herein.

       49.     10x and Harvard have brought an action asserting the 052 Patent against

NanoString.

       50.     Harvard has alleged that it is the legal owner by assignment of the 052 Patent.

       51.     10x has alleged that it is the exclusive licensee of the 052 Patent.

       52.     10x and Harvard have alleged and continue to allege that NanoString has infringed

and continues to infringe one or more claims of the 052 Patent.

       53.     An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

arisen and exists between 10x and Harvard and NanoString concerning whether NanoString has

infringed and is infringing any valid and enforceable claim of the 052 Patent.


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       54.     NanoString’s products are not infringing directly or in any other manner any valid

and enforceable claim of the 052 Patent.

       55.     For example, as described therein, when properly construed, the 052 Patent claims

require the analyte to be at a location in a biological sample during identification. In contrast,

NanoString’s CosMx SMI does not identify the analyte at the location in a biological sample.

       56.     Furthermore, as described therein, when properly construed, the 052 Patent claims

require the first optical signal to be removed from the location in the biological sample before the

second readout cycle. In contrast, CosMx SMI does not remove the first optical signal from the

sample, but from the bound probes.

       57.     Moreover, as described therein, when properly construed, the 052 Patent claims

require the detection of multiple signal signatures and the absence thereof during analyte

identification. To the extent any of the accused products do not detect multiple signal signatures

for analyte detection, they do not infringe the 052 Patent.

       58.     By virtue of the foregoing, NanoString desires a judicial determination of its rights

and duties with respect to any alleged infringement of the 052 Patent.

       59.     A judicial declaration is necessary and appropriate at this time so that the parties

may proceed in accordance with their respective rights and duties determined by the Court.

                                             FIFTH COUNT

               (Declaration of Non-Infringement of United States Patent No. 11,293,054)

       60.     NanoString incorporates by references and restates the preceding Paragraphs 1-59

of its Counterclaims as though fully set forth herein.

       61.     10x and Harvard have brought an action asserting the 054 Patent against

NanoString.

       62.     Harvard has alleged that it is the legal owner by assignment of the 054 Patent.


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       63.     10x has alleged that it is the exclusive licensee of the 054 Patent.

       64.     10x and Harvard have alleged and continue to allege that NanoString has infringed

and continues to infringe one or more claims of the 054 Patent.

       65.     An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

arisen and exists between 10x and Harvard and NanoString concerning whether NanoString has

infringed and is infringing any valid and enforceable claim of the 054 Patent.

       66.     NanoString’s products are not infringing directly or in any other manner any valid

and enforceable claim of the 054 Patent.

       67.     For example, as described therein, when properly construed, the 054 Patent claims

require generation of signal signatures in a cell or tissue sample. In contrast, NanoString’s CosMx

SMI does not generate a signal signatures in a cell or tissue sample.

       68.     Furthermore, as described therein, when properly construed, the 054 Patent claims

require a nucleic acid label coupled to a probe to permit the said probe to bind to an analyte. In

contrast, to the extent it is used in NanoString’s CosMx SMI, a nucleic acid label does not permit

the probe to bind to an analyte. Rather, the probe is itself designed to target an analyte.

       69.     Moreover, as described therein, when properly construed, the 054 Patent claims

require first decoder probe to be removed before the hybridization of the second decoder probe.

In contrast, CosMx SMI do not remove the decoder probes during serial hybridization.

       70.     By virtue of the foregoing, NanoString desires a judicial determination of its rights

and duties with respect to any alleged infringement of the 054 Patent.

       71.     A judicial declaration is necessary and appropriate at this time so that the parties

may proceed in accordance with their respective rights and duties determined by the Court.




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                                             SIXTH COUNT

               (Declaration of Non-Infringement of United States Patent No. 11,542,554)

       72.     NanoString incorporates by references and restates the preceding Paragraphs 1-71

of its Counterclaims as though fully set forth herein.

       73.     10x and Harvard have brought an action asserting the 554 Patent against

NanoString.

       74.     Harvard has alleged that it is the legal owner by assignment of the 554 Patent.

       75.     10x has alleged that it is the exclusive licensee of the 554 Patent.

       76.     10x and Harvard have alleged and continue to allege that NanoString has infringed

and continues to infringe one or more claims of the 554 Patent.

       77.     An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

arisen and exists between 10x and Harvard and NanoString concerning whether NanoString has

infringed and is infringing any valid and enforceable claim of the 554 Patent.

       78.     NanoString’s products are not infringing directly or in any other manner any valid

and enforceable claim of the 554 Patent.

       79.     For example, as described therein, when properly construed, the 554 Patent claims

require light signals associated with nucleic acid molecules within a sample. In contrast, to the

extent they are used in NanoString’s CosMx SMI, light signals are not associated with nucleic acid

molecules within a sample.

       80.     Similarly, as described therein, when properly construed, the 554 Patent claims

require optically-encoded signal associated with a nucleic acid molecule within a sample. In

contrast, to the extent it is used in NanoString’s CosMx SMI, the optically-encoded signal is not

associated with a nucleic acid molecule within a sample.




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       81.     Furthermore, as described therein, when properly construed, the 554 Patent claims

require a plurality of images comprise a plurality of light signals received during a plurality of

readout cycles. In contrast, to the extent they are used in NanoString’s CosMx SMI, the images

may not comprise light signals.

       82.     By virtue of the foregoing, NanoString desires a judicial determination of its rights

and duties with respect to any alleged infringement of the 554 Patent.

       83.     A judicial declaration is necessary and appropriate at this time so that the parties

may proceed in accordance with their respective rights and duties determined by the Court.

                                           SEVENTH COUNT

               (Declaration of Invalidity of U.S. Patent No. 10,227,639)

       84.     NanoString incorporates by references and restates the preceding Paragraphs 1-83

of its Counterclaims as though fully set forth herein.

       85.     10x and Harvard have brought an action asserting the 639 Patent against

NanoString.

       86.     Harvard has alleged that it is the legal owner by assignment of the 639 Patent.

       87.     10x has alleged that it is the exclusive license of the 639 Patent.

       88.     10x and Harvard have alleged and continue to allege that NanoString has infringed

and continues to infringe one or more claims of the 639 Patent.

       89.     An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

arisen and exists between 10x and Harvard and NanoString concerning whether NanoString has

infringed and is infringing any valid and enforceable claim of the 639 Patent.

       90.     The claims of the 639 Patent are invalid for failing to comply with the provisions

of the Patent Laws, Title 35 of the United States Code, including without limitation one or more




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of 35 U.S.C. §§ 101, 102, 103, 112, and/or 116, and/or the rules, regulations and law pertaining

thereto.

       91.     For example, the asserted claims of the Asserted Patents are invalid under 35 U.S.C.

§§ 102 and/or 103 at least in view of U.S. Patent No. 10,961,566 (“Chee”), alone or in combination

with additional prior art, including U.S. Patent App. Pub. No. 2005/0064435 (“Su”), Göransson et

al., A single molecule array for digital targeted molecular analyses, 37 Nucleic Acids Research e7

(2008) (“Göransson”), or U.S. Patent No. 8,741,566 (“Winther”), which disclose and/or render

obvious all elements of the claims of the Asserted Patents.

       92.     All claims of the Asserted Patents are further invalid for failure to satisfy the

requirements of 35 U.S.C. § 112. For example, the claim term “temporal order”, read in light of

the specification and the prosecution history, fails to inform, with reasonable certainty, those

skilled in the art of the boundaries of protected subject matter, and therefore does not meet the

definiteness standard.

       93.     Moreover, the specifications of the Asserted Patents fail to contain a written

description of the claims or sufficient information to enable a person of ordinary skill in the art to

practice the full scope of the claims. For example, there is a lack of an adequate written description

and a lack of enablement for signal detection in the cell or tissue sample.

       94.     By virtue of the foregoing, NanoString desires a judicial determination of its rights

and duties with respect to any alleged infringement of the 639 Patent.

       95.     A judicial declaration is necessary and appropriate at this time so that the parties

may proceed in accordance with their respective rights and duties determined by the Court.




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                                            EIGHTH COUNT

               (Declaration of Invalidity of U.S. Patent No. 11,021,737)

       96.     NanoString incorporates by references and restates the preceding Paragraphs 1-95

of its Counterclaims as though fully set forth herein.

       97.     10x and Harvard have brought an action asserting the 737 Patent against

NanoString.

       98.     Harvard has alleged that it is the legal owner by assignment of the 737 Patent.

       99.     10x has alleged that it is the exclusive license of the 737 Patent.

       100.    10x and Harvard have alleged and continue to allege that NanoString has infringed

and continues to infringe one or more claims of the 737 Patent.

       101.    An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

arisen and exists between 10x and Harvard and NanoString concerning whether NanoString has

infringed and is infringing any valid and enforceable claim of the 737 Patent.

       102.    The claims of the 737 Patent are invalid for failing to comply with the provisions

of the Patent Laws, Title 35 of the United States Code, including without limitation one or more

of 35 U.S.C. §§ 101, 102, 103, 112, and/or 116, and/or the rules, regulations and law pertaining

thereto.

       103.    For example, the asserted claims of the Asserted Patents are invalid under 35 U.S.C.

§§ 102 and/or 103 at least in view of U.S. Patent No. 10,961,566 (“Chee”), alone or in combination

with additional prior art, including U.S. Patent App. Pub. No. 2005/0064435 (“Su”), Göransson et

al., A single molecule array for digital targeted molecular analyses, 37 Nucleic Acids Research e7

(2008) (“Göransson”), or U.S. Patent No. 8,741,566 (“Winther”), which disclose and/or render

obvious all elements of the claims of the Asserted Patents.




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       104.    All claims of the Asserted Patents are further invalid for failure to satisfy the

requirements of 35 U.S.C. § 112. For example, the claim term “temporal order”, read in light of

the specification and the prosecution history, fails to inform, with reasonable certainty, those

skilled in the art of the boundaries of protected subject matter, and therefore does not meet the

definiteness standard.

       105.    Moreover, the specifications of the Asserted Patents fail to contain a written

description of the claims or sufficient information to enable a person of ordinary skill in the art to

practice the full scope of the claims. For example, there is a lack of an adequate written description

and a lack of enablement for generating a three dimensional matrix of nucleic acids in situ in a cell

or tissue sample and amplifying, detecting, and sequencing such nucleic acids within the matrix;

there is also a lack of an adequate written description and a lack of enablement for analyte detection

while allowing spatial movement of an analyte in a sample.

       106.    By virtue of the foregoing, NanoString desires a judicial determination of its rights

and duties with respect to any alleged infringement of the 737 Patent.

       107.    A judicial declaration is necessary and appropriate at this time so that the parties

may proceed in accordance with their respective rights and duties determined by the Court.

                                             NINTH COUNT

               (Declaration of Invalidity of U.S. Patent No. 11,293,051)

       108.    NanoString incorporates by reference and restates the preceding Paragraphs 1-107

of its Counterclaims as though fully set forth herein.

       109.    10x and Harvard have brought an action asserting the 051 Patent against

NanoString.

       110.    Harvard has alleged that it is the legal owner by assignment of the 051 Patent.

       111.    10x has alleged that it is the exclusive license of the 051 Patent.


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       112.    10x and Harvard have alleged and continue to allege that NanoString has infringed

and continues to infringe one or more claims of the 051 Patent.

       113.    An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

arisen and exists between 10x and Harvard and NanoString concerning whether NanoString has

infringed and is infringing any valid and enforceable claim of the 051 Patent.

       114.    The claims of the 051 Patent are invalid for failing to comply with the provisions

of the Patent Laws, Title 35 of the United States Code, including without limitation one or more

of 35 U.S.C. §§ 101, 102, 103, 112, and/or 116, and/or the rules, regulations and law pertaining

thereto.

       115.    For example, the asserted claims of the Asserted Patents are invalid under 35 U.S.C.

§§ 102 and/or 103 at least in view of U.S. Patent No. 10,961,566 (“Chee”), alone or in combination

with additional prior art, including U.S. Patent App. Pub. No. 2005/0064435 (“Su”), Göransson et

al., A single molecule array for digital targeted molecular analyses, 37 Nucleic Acids Research e7

(2008) (“Göransson”), or U.S. Patent No. 8,741,566 (“Winther”), which disclose and/or render

obvious all elements of the claims of the Asserted Patents.

       116.    Moreover, the specifications of the Asserted Patents fail to contain a written

description of the claims or sufficient information to enable a person of ordinary skill in the art to

practice the full scope of the claims. For example, there is a lack of an adequate written description

and a lack of enablement for generating a three dimensional matrix of nucleic acids in situ in a cell

or tissue sample and amplifying, detecting, and sequencing such nucleic acids within the matrix;

there is also a lack of an adequate written description and a lack of enablement for analyte detection

while allowing spatial movement of an analyte in a sample.




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       117.    By virtue of the foregoing, NanoString desires a judicial determination of its rights

and duties with respect to any alleged infringement of the 051 Patent.

       118.    A judicial declaration is necessary and appropriate at this time so that the parties

may proceed in accordance with their respective rights and duties determined by the Court.

                                            TENTH COUNT

               (Declaration of Invalidity of U.S. Patent No. 11,293,052)

       119.    NanoString incorporates by references and restates the preceding Paragraphs 1-118

of its Counterclaims as though fully set forth herein.

       120.    10x and Harvard have brought an action asserting the 052 Patent against

NanoString.

       121.    Harvard has alleged that it is the legal owner by assignment of the 052 Patent.

       122.    10x has alleged that it is the exclusive licensee of the 052 Patent.

       123.    10x and Harvard have alleged and continue to allege that NanoString has infringed

and continues to infringe one or more claims of the 052 Patent.

       124.    An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

arisen and exists between 10x and Harvard and NanoString concerning whether NanoString has

infringed and is infringing any valid and enforceable claim of the 052 Patent.

       125.    The claims of the 052 Patent are invalid for failing to comply with the provisions

of the Patent Laws, Title 35 of the United States Code, including without limitation one or more

of 35 U.S.C. §§ 101, 102, 103, 112, and/or 116, and/or the rules, regulations and law pertaining

thereto.

       126.    For example, the asserted claims of the Asserted Patents are invalid under 35 U.S.C.

§§ 102 and/or 103 at least in view of U.S. Patent No. 10,961,566 (“Chee”), alone or in combination

with additional prior art, including U.S. Patent App. Pub. No. 2005/0064435 (“Su”), Göransson et


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al., A single molecule array for digital targeted molecular analyses, 37 Nucleic Acids Research e7

(2008) (“Göransson”), or U.S. Patent No. 8,741,566 (“Winther”), which disclose and/or render

obvious all elements of the claims of the Asserted Patents.

       127.    All claims of the Asserted Patents are further invalid for failure to satisfy the

requirements of 35 U.S.C. § 112. For example, the claim terms “signal signature” and “temporal

order”, read in light of the specification and the prosecution history, fails to inform, with reasonable

certainty, those skilled in the art of the boundaries of protected subject matter, and therefore does

not meet the definiteness standard.

       128.    Moreover, the specifications of the Asserted Patents fail to contain a written

description of the claims or sufficient information to enable a person of ordinary skill in the art to

practice the full scope of the claims. For example, there is a lack of an adequate written description

and a lack of enablement for analyte identification at a location in a biological sample.

       129.    By virtue of the foregoing, NanoString desires a judicial determination of its rights

and duties with respect to any alleged infringement of the 052 Patent.

       130.    A judicial declaration is necessary and appropriate at this time so that the parties

may proceed in accordance with their respective rights and duties determined by the Court.

                                           ELEVENTH COUNT

               (Declaration of Invalidity of U.S. Patent No. 11,293,054)

       131.    NanoString incorporates by references and restates the preceding Paragraphs 1-130

of its Counterclaims as though fully set forth herein.

       132.    10x and Harvard have brought an action asserting the 054 Patent against

NanoString.

       133.    Harvard has alleged that it is the legal owner by assignment of the 054 Patent.

       134.    10x has alleged that it is the exclusive licensee of the 054 Patent.


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       135.    10x and Harvard have alleged and continue to allege that NanoString has infringed

and continues to infringe one or more claims of the 054 Patent.

       136.    An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

arisen and exists between 10x and Harvard and NanoString concerning whether NanoString has

infringed and is infringing any valid and enforceable claim of the 054 Patent.

       137.    The claims of the 054 Patent are invalid for failing to comply with the provisions

of the Patent Laws, Title 35 of the United States Code, including without limitation one or more

of 35 U.S.C. §§ 101, 102, 103, 112, and/or 116, and/or the rules, regulations and law pertaining

thereto.

       138.    For example, the asserted claims of the Asserted Patents are invalid under 35 U.S.C.

§§ 102 and/or 103 at least in view of U.S. Patent No. 10,961,566 (“Chee”), alone or in combination

with additional prior art, including U.S. Patent App. Pub. No. 2005/0064435 (“Su”), Göransson et

al., A single molecule array for digital targeted molecular analyses, 37 Nucleic Acids Research e7

(2008) (“Göransson”), or U.S. Patent No. 8,741,566 (“Winther”), which disclose and/or render

obvious all elements of the claims of the Asserted Patents.

       139.    All claims of the Asserted Patents are further invalid for failure to satisfy the

requirements of 35 U.S.C. § 112. For example, the claim term “temporal order”, read in light of

the specification and the prosecution history, fails to inform, with reasonable certainty, those

skilled in the art of the boundaries of protected subject matter, and therefore does not meet the

definiteness standard.

       140.    Moreover, the specifications of the Asserted Patents fail to contain a written

description of the claims or sufficient information to enable a person of ordinary skill in the art to




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practice the full scope of the claims. For example, there is a lack of an adequate written description

and a lack of enablement for signal detection in the cell or tissue sample.

       141.    By virtue of the foregoing, NanoString desires a judicial determination of its rights

and duties with respect to any alleged infringement of the 054 Patent.

       142.    A judicial declaration is necessary and appropriate at this time so that the parties

may proceed in accordance with their respective rights and duties determined by the Court.

                                           TWELFTH COUNT

               (Declaration of Invalidity of U.S. Patent No. 11,542,554)

       143.    NanoString incorporates by references and restates the preceding Paragraphs 1-142

of its Counterclaims as though fully set forth herein.

       144.    10x and Harvard have brought an action asserting the 554 Patent against

NanoString.

       145.    Harvard has alleged that it is the legal owner by assignment of the 554 Patent.

       146.    10x has alleged that it is the exclusive licensee of the 554 Patent.

       147.    10x and Harvard have alleged and continue to allege that NanoString has infringed

and continues to infringe one or more claims of the 554 Patent.

       148.    An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

arisen and exists between 10x and Harvard and NanoString concerning whether NanoString has

infringed and is infringing any valid and enforceable claim of the 554 Patent.

       149.    The claims of the 554 Patent are invalid for failing to comply with the provisions

of the Patent Laws, Title 35 of the United States Code, including without limitation one or more

of 35 U.S.C. §§ 101, 102, 103, 112, and/or 116, and/or the rules, regulations and law pertaining

thereto.




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       150.    For example, the asserted claims of the Asserted Patents are invalid under 35 U.S.C.

§§ 102 and/or 103 at least in view of Lee, Je Hyuk, et al. "Highly multiplexed subcellular RNA

sequencing in situ." science 343.6177 (2014): 1360-1363 (“Lee”), alone or in combination with

additional prior art, including Lubeck, Eric, et al. "Single-cell in situ RNA profiling by sequential

hybridization." Nature methods 11.4 (2014): 360-361 (“Lubeck”), U.S. Pat. Pub. No.

2012/0046203, Walsh et al., February 23, 2012 (“Walsh”), or Heinzman, Jamie M., Shara D. Rice,

and L. A. Corkan. "Robotic liquid handlers and semiautomated cell quantification systems increase

consistency and reproducibility in high-throughput, cell-based assay." JALA: Journal of the

Association for Laboratory Automation 15.1 (2010): 7-14 (“Heinzman”), which disclose and/or

render obvious all elements of the claims of the Asserted Patents.

       151.    All claims of the Asserted Patents are further invalid for failure to satisfy the

requirements of 35 U.S.C. § 112. For example, the claim terms “optically-encoded signals” and

“nucleic acid molecules within said volume”, read in light of the specification and the prosecution

history, fails to inform, with reasonable certainty, those skilled in the art of the boundaries of

protected subject matter, and therefore does not meet the definiteness standard.

       152.    As another example, the claim language “a computing system comprising at least

one computer readable storage medium having program instructions stored thereon, which

program instructions are executable by at least one processor of said computing system to cause

said at least one processor to perform a method comprising” is directed to both an apparatus and a

method of using the apparatus, and when read in light of the specification and the prosecution

history, fails to inform, with reasonable certainty, those skilled in the art of the boundaries of

protected subject matter, and therefore does not meet the definiteness standard.




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          153.   Moreover, the specifications of the Asserted Patents fail to contain a written

description of the claims or sufficient information to enable a person of ordinary skill in the art to

practice the full scope of the claims. For example, there is a lack of an adequate written description

and a lack of enablement for determination of three-dimensional positional information of nucleic

acid molecules within sample.

          154.   By virtue of the foregoing, NanoString desires a judicial determination of its rights

and duties with respect to any alleged infringement of the 554 Patent.

          155.   A judicial declaration is necessary and appropriate at this time so that the parties

may proceed in accordance with their respective rights and duties determined by the Court.

                                     REQUEST FOR RELIEF

          WHEREFORE, having fully answered 10x and Harvard’ SAC and having asserted

Affirmative Defenses, and Counterclaims, NanoString respectfully requests the following relief:

          A.     That this Court enter judgment on 10x and Harvard’ SAC and NanoString’s

Counterclaims in favor of NanoString, against 10x and Harvard, with 10x and Harvard being

awarded no relief of any kind in this action;

          B.     That this Court enter judgment and/or declarations that NanoString does not

infringe the Asserted Patents and that the Asserted Patents are invalid;

          C.     That this Court enter a judgment declaring this case exceptional under 35 U.S.C. §

285 and awarding NanoString its attorneys’ fees and prejudgment and post-judgment interest;

          D.     That this Court award NanoString all of its costs of this action; and

          E.     That this Court grant such other and further relief as the Court shall deem just and

proper.




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 Dated: March 22, 2023                     Respectfully submitted,

                                           FARNAN LLP

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